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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Denise M. Hewitt                              CHAPTER 13

         DEBTOR
                                                       BANKRUPTCY CASE NUMBER
                                                       20-11075/ELF


                ENTRY OF APPEARANCE AND REQUEST FOR NOTICE

       Pursuant to Bankruptcy Rules 2002 and 9007, Bankruptcy Code §§102(1), 342, and

1109(b), Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer for KelDon I LLC, requests

special notice of all matters which must be noticed to creditors, equity security holders, any

creditors or other committees, and any other parties in interest whether sent by the Court, the

Debtor, the Trustee, or any other party. This request includes not only the notices and papers

referred to in the Rules above, but also includes, without limitation, Orders and notice of any

Application, Motion, Petition, Pleading, Request, Complaint, and demand, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail delivery,

telephone, telegraph, telex, facsimile or otherwise.


                                                       SHAPIRO & DENARDO, LLC

DATED: April 20, 2020                                  BY: /s/ Kristen D. Little
                                                       Kristen D. Little, Esquire
                                                       Shapiro & DeNardo, LLC
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